  Case 2:15-cr-00611-SVW Document 262 Filed 08/22/17 Page 1 of 3 Page ID #:3722




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 8                               UNITED STATES DISTRICT COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

l0l    UNITED STATES OF AMERICA,         )     Case No.   ~~     ~5
                                                                  ~   ~p I I -SVUJ ~ Z

11                         Plaintiff,    )     ORDER OF REVOCATION/DETENTION
                                               IN BAIL REVOCATION/DETENTION
12                  v.                   )     PROCEEDINGS

13     ~~ ~SS~;-- ~~n ~                  )     (18 U.S.C. § 3148(b))

14                         Defendant.

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            Upon motion of the Government to detain defendant in connection
16
       with bail revocation/detention proceedings pursuant to 18 U.S.C.
17
       § 3148 (b)
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            A.      The Court finds:
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                    (    ) there is probable cause to believe that defendant has
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                           committed a federal, state, or local crime while on
21 ,
                           release;
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                    (       here is clear and convincing evidence that defendant
23,
                           has violated another condition of release;
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            B.      The Court further finds:
25'.
                    ( ~no condition or combination of conditions will
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                           reasonably assure the appearance of defendant as
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                           required;
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 Case 2:15-cr-00611-SVW Document 262 Filed 08/22/17 Page 2 of 3 Page ID #:3723




 1             (   ) no condition or combination of conditions will

 2                   reasonably assure the safety of any other person and

 3                   the community;

 4             ( ~efendant is unlikely to abide by any condition or

 5                   combination of conditions of release.

 6       C.    The Court has considered:

 7             ( ✓) the nature and circumstances of the offense (s) charged;

 8             (~the weight of the evidence against defendant;

 9             (     the history and characteristics of defendant;

10             (~ the nature and seriousness of the danger to any person

11                   or the community that would be posed by defendant's

12                   release.

13       i~    The Court concludes:

14            (    ) Defendant poses a risk to the safety of other persons

15                   and the community based on:

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19             ( ~efendant poses a serious flight risk based on:

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21                         ~~c. C,c — c~. .~Q~~        E
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23~           ((/) Defendant is unlikely to abide by any condition or

24                   combination of conditions of release based on:

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 Case 2:15-cr-00611-SVW Document 262 Filed 08/22/17 Page 3 of 3 Page ID #:3724




 1        E.   The Government ( ) is (~s not entitled to a rebuttable

 2             presumption that no condition or combination of conditions

 3             will assure that defendant will not pose a danger to the

 4             safety of any person or the community.

 5        F.   The Court finds:

 6             (   ) Defendant has not rebutted by sufficient evidence to

 7                   the contrary the presumption provided in 18 U.S.C.

 8                  § 3148 (b) that no condition or combination of

 9                   conditions will assure the safety of any other person

10                   or the community;

11        IT IS ORDERED that defendant is detained and remanded to the

12   custody of the U.S. Marshal.

13        If defendant is awaiting trial, IT IS FURTHER ORDERED that

14   defendant be confined in a corrections facility separate, to the

15   extent practicable, from persons awaiting or serving sentences or

16   persons held in custody pending appeal.

17        IT IS FURTHER ORDERED that defendant be afforded reasonable

18   opportunity for private consultation with defendant's counsel.

19   DATED:        ~~     ~

20                                             ORABLE JAC     INE CHOOLJIAN
                                             nited State    agistrate Judge
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